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                                        IN THE UNITED STATES DISTRICT C~ RT ·
                                                                             [         U.S. DISTRICT COURT .
                                                                                 '.NORTHERN DlSTR!CT OF TEXAS:
                                                                                                 :FTIJT!) ..
                                                                                                                       i
                                                                                                                       I'




                                        FOR THE NORTHERN DISTRICT OFT XAS               r--- . - - ··-·1               .,
                                               FORT WORTH DIVISION           i          I MAR 2 9 20!8 i
       STANDARD INSURANCE COMPANY,                        §                  j          I~.      -           J         I
                                                          §                 I ... CLEI\K, U.S. DlSTIUCT COURT
                           Plaintiff,                     §                      · By   . . ..    Deputy           :
                                                          §
       v.                                                 §         C.A. No. 4:17-cv-00994-A
                                                          §
       PHILLIP A. BOWLAND,                                §
                                                          §
                        Defendant.                        §
                                                          §

                                                DEFAULT JUDGMENT

                    Pending before the CoUli is Plaintiff Standard Insurance Company's ("Standard") Motion

       for Default Judgment (the "Motion") against Defendant Phillip A. Bowland ("Defendant").

       Having considered the Motion, the pleadings on file, and the applicable law, and otherwise being

       fully informed, the Colili finds that Standard has made an appearance in this action a1ul           1110.   ~

.,VV   1'i'    ii    al i0&d5 fSI tdttl and that Defendant, although having been duly and legally summoned

       to appear and answer, failed to appear, answer, plead, or otherwise defend and has defaulted.

       The Comi fuliher finds that the Summons was properly served on Defendant pursuant to law,

       and that the return of service was filed with the Clerk in the time required by law. The CoUli has

       read the pleadings and the papers on file, and it is of the opinion that Standard's allegations

       against Defendant in the Original Complaint (Dkt. 1) have been admitted. It is therefore

                    ORDERED, ADWDGED, and DECREED that the Motion is hereby GRANTED. It is

       further

                    ORDERED, ADWDGED, and DECREED that a DEFAULT WDGMENT is hereby

       entered in Standard's favor against Defendant. It is fu1iher




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        ORDERED, ADJUDGED, and DECREED that Defendant's long-term disability

("LTD") insurance coverage under group LTD insurance policy no. 649087-C (the "Group

Policy"), fully insured by Standard, is hereby declared null, void, terminated, and rescinded ab

initio as if never effective. It is further

        ORDERED, ADJUDGED, and DECREED that as a result of the rescission of

Defendant's coverage under the Group Policy, any claims that have been submitted in the past,

or may be submitted in the future, by Defendant under the Group Policy are not eligible for

payment. It is further

        ORDERED, ADJUDGED, and DECREED that Standard has refunded, in full, the

premiums Defendant paid in connection with the Group Policy. It is further

        ORDERED, ADJUDGED, and DECREED that no right of recovery for Defendant exists

or has ever existed under the Group Policy, whether at law or in equity. It is further

        ORDERED, ADJUDGED, and DECCREED that Standard is awarded its reasonable and
                 '   ..... -   ··~   . "'•'

necessary attorneys' fees in the amount of $6,000.00. It is further

        ORDERED, ADJUDGED, and DECREED that any and all claims, demands, debts, or

causes of action that Defendant could have asserted against Standard herein are DISMISSED

WITH PREJUDICE.

        This is a FINAL JUDGMENT.

        SO ORDERED.

        SIGNED this            z;J_ day of~ 2018.




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